            Case 1:18-cv-01596-APM Document 7 Filed 09/04/18 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

       DEMOCRACY FORWARD             )
       FOUNDATION,                   )
                                     )
             Plaintiff,              )
                                     )               Civil Action No. 1:18-cv-01596 (APM)
                     v.              )
                                     )
       U.S. DEPARTMENT OF            )
       EDUCATION,                    )
                                     )
             Defendant.              )
       _____________________________ )

                                  JOINT STATUS REPORT

       Pursuant to the Court’s August 14, 2018, Minute Order, Defendant U.S. Department of

Education (“ED”) and Plaintiff Democracy Forward Foundation (collectively, “the Parties”)

provide the following Joint Status Report to the Court:

   1. Plaintiff filed its Complaint in this action (ECF No. 1) on July 5, 2018, pursuant to the

Freedom of Information Act (“FOIA”). Defendant answered on August 10, 2018 (ECF No. 6).

   2. The Parties have conferred and report that ED is conducting its searches for records

potentially responsive to Plaintiff’s request. ED anticipates that it can complete its searches and

propose a processing and production schedule to Plaintiff in approximately two weeks.

   3. The Parties do not anticipate that an Open America stay will be necessary in this case. The

Parties recommend postponing setting a briefing schedule until they can review the results of the

searches.
          Case 1:18-cv-01596-APM Document 7 Filed 09/04/18 Page 2 of 2



   4. The Parties propose to file a second Joint Status Report no later than October 4, 2018,

setting forth recommendations for further proceedings.

Dated: September 4, 2018

Respectfully submitted,

 JESSIE K. LIU                                     By:_/s/ John T. Lewis__
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